                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION


WILLIAM FEEHAN and DERRICK VAN ORDEN,

               Plaintiffs,
       v.

 WISCONSIN ELECTIONS COMMISSION,
 and its members ANN S. JACOBS, MARK
                                                                           Case No.: 20CV1771
 L. THOMSEN, MARGE BOSTELMANN,
 JULIE M. GLANCEY, DEAN KNUDSON,
 ROBERT F. SPINDELL, JR., in their official
 capacities, GOVERNOR TONY EVERS,
 in his official capacity,

                Defendants.

                                 NOTICE OF APPEARANCE


       PLEASE TAKE NOTICE that Justin A. Nelson of the law firm of Susman Godfrey LLP

has been retained by defendant Governor Tony Evers in this action. Please serve copies of all

papers in this action on the undersigned at the address set forth below.

       Respectfully submitted this 4th day of December 2020.

                                              /s/ Justin A. Nelson
                                              Justin A. Nelson
                                              SUSMAN GODFREY L.L.P.
                                              1000 Louisiana Street, Suite 5100
                                              Houston, TX 77002
                                              (713) 651-9366
                                              jnelson@susmangodfrey.com


                                              Attorneys for Defendant, Governor Tony Evers




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